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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

BRADY TUCKER, RYAN HILTON and Case No. 1:18-cv-03155-KPF
STANTON SMITH, Individually and On Behalf
of All Others Similarly Situated, DECLARATION OF PLAINTIFF BRADY
TUCKER IN SUPPORT OF PLAINTIFFS’
Plaintiffs, UNOPPOSED MOTION FOR PRELIMINARY
APPROVAL OF CLASS ACTION
Vv. SETTLEMENT

CHASE BANK USA, N.A.,

Defendant.

 

 
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DECLARATION OF BRADY TUCKER

I, Brady Tucker, one of the named Plaintiffs in this class action, declare as follows:

I lama competent adult, over eighteen years of age, and a citizen of the United States
residing in the State of Idaho. I respectfully submit this declaration in support of Plaintiffs’
Unopposed Motion for Preliminary Approval of Class Action Settlement, and my request for
appointment as a Settlement Class Representative in this case. I have personal knowledge of the
facts in this Declaration and, if called as a witness, I could and would testify competently to these
facts.

2: I opened a Visa credit-card account with Defendant JPMorgan Chase Bank, N.A.
(formerly known as Chase Bank USA, N.A.) (“Chase”) in or about the year 2017.

as In or about early January 2018, I began using my Chase credit card to purchase
cryptocurrencies. At first, my cryptocurrency purchases were charged to my credit-card account
as ordinary “Purchase” transactions, within the meaning of my Chase cardholder agreement.

4. However, after January 22, 2018, I made additional purchases of cryptocurrencies
using my Chase credit card. These additional transactions were unexpectedly charged to my
credit-card account as “Cash Advance” transactions, without prior notice to me. Had I known that
my latest cryptocurrency purchases would be deemed Cash Advances, I would not have used by
Chase credit card to make those additional purchases.

5. I contacted Finkelstein & Krinsk LLP, and subsequently filed this lawsuit in April
2018, to challenge the Cash Advance charges that (I believe) were wrongfully assessed against me
and other Chase cardholders who used their credit cards to buy cryptocurrencies.

6. I have decided to act as a named Plaintiff in this case, as well as a Class

Representative if the Court appoints me to serve in this role. IT understand that as a Class
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Representative, it is my job to represent the best interests of all of the proposed Class Members in
this case. I am seeking Court appointment as a Class Representative for the following group of
proposed Class Members: all current and former Chase credit-card accountholders in the United
States to whom Chase charged Cash Advance Fees and/or Cash Advance Interest for
Cryptocurrency Transactions made with their Chase consumer credit card during the Class Period.

7. To the best of my knowledge and belief, I have no conflicts of interest with other
Class Members in this case. I understand that as a Class Representative, I am only entitled to
receive the same proportional share as other Class Members in any financial recovery from Chase.

8. Throughout the past two years, I believe I have fulfilled my duties to zealously but
reasonably prosecute this case on behalf of myself and other Class Members. Before filing my
complaints in this case, I spent hours assisting and conferring with my counsel, by phone and in
writing. I conferred with Class Counsel regarding their investigation and research concerning my
claims and those of other Class Members. I conferred with my counsel at the outset regarding
some of the risks of initiating this litigation. I reviewed and approved the initial Class Action
Complaint, and the First Amended Class Action Complaint, before filing each of them with the
Court.

9. After filing this case, | remained in regular contact with Class Counsel about the
status of the case and ongoing developments in the litigation and settlement processes. Those
consultations included discussing strategic issues, scheduling issues, as well as the potential
strengths and weaknesses of my claims.

10. Following the motion to dismiss phase, I also conferred with my counsel regarding
discovery matters, and the possibility of resolving the case through settlement. Throughout the

settlement process, I have remained and will continue to remain informed about settlement
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negotiations and proceedings in an effort to protect and advance the interests of other Class
Members.

11. [ understand that the Settlement, if approved by the Court, will provide a
$2,500,000.00 common fund for Class members. [ understand the possibility that | and other Class
Members could theoretically win more than that i/'we were to win at future stages of this litigation
and also prevail at trial. However, | also understand the possibility that I and other Class Members
could lose on the merits of our claims, and recover $0 if we were to lose at later stages of litigation
or trial. | understand that any trial or appeal(s) relating to this case would likely delay any potential
financial recovery for Class Members by months or even years. Accordingly, in light of all of the
potential risks, delays and expenses of proceeding to and through a final judgment in this case, |
believe that the substantial, automatic, and near-term cash recovery provided by this Settlement
fairly and reasonably compensates Class Members for our alleged damages in this case.

12. In advance of any final Court approval of this Settlement, I and my counsel will
respectfully request that the Court grant me and the two other named Plaintiffs a Service Award
of up to $7,000 each for our time, efforts and risks that we took to sue Chase and seek Justice on
behalf of consumers like ourselves. | understand that the Court has independent discretion to grant
or deny our requests for Service Awards.

13. I understand that my counsel will seek Court approval for an award of their
attorneys’ fees and expenses of up to 33% of the total common fund paid by Chase, and that any
substantial portion of such fees and expenses that are not approved by the Court will be distributed
to Class Members as an additional benefit. My support for this Settlement is not conditioned upon

me or my counsel being awarded the respective dollar amounts that we seek.
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[ declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

Executed this day of May in , 2020, in Meridian, Idaho.

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